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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

 MARVIN BARLEY,                                 §
                                                §
          Plaintiff,                            §
                                                §
 v.                                             §            EP-16-CV-67-KC
                                                §
 HUNTER WARFIELD, INC.,                         §
                                                §
          Defendant.                            §

                                             ORDER

       On this day, the Court considered Plaintiff’s Notice of Dismissal with Prejudice, ECF No.

5, in the above-captioned case. In accordance with Rule 41(a) of the Federal Rules of Civil

Procedure and the terms of Plaintiff’s Notice of Dismissal with Prejudice, it is hereby

ORDERED that all of Plaintiff’s claims in this case are DISMISSED with prejudice.

       IT IS FURTHER ORDERED that all costs of court and attorneys’ fees shall be paid by

the party incurring same.

       The clerk shall close the case.

       SO ORDERED.

       SIGNED this 29th day of July, 2016.




                                         KATHLEEN CARDONE
                                         UNITED STATES DISTRICT JUDGE
